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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                     )
JANSSEN BIOTECH, INC.,                               )
                Plaintiff,                           )
                                                     )      Case No. 1:17-cv-11008-MLW
                                                     )
v.                                                   )
                                                     )
CELLTRION HEALTHCARE CO., LTD.,                      )
CELLTRION, INC., and                                 )
HOSPIRA, INC.                                        )
                  Defendants.                        )
                                                     )

                 ASSENTED-TO MOTION FOR LEAVE TO FILE
         JANSSEN’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
             FOR LACK OF STANDING AND EXHIBITS UNDER SEAL

       Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal its Brief in

Opposition to Defendants’ Motion to Dismiss for Lack of Standing (“Opposition Brief”) and the

following supporting documents under seal: (i) Excerpts from the depositions of Anne Osborne

Martinson and Kenneth Dow and (ii) Exhibit I to the Declaration of Kenneth Dow. In support of

this motion, Plaintiff states as follows:

       1.      On July 11, 2017, Defendants’ filed a Motion to Dismiss for Lack of Standing.

[Dkt. 13].

       2.      Janssen intends to file its Opposition Brief with supporting documents today which

contain Plaintiff’s, Defendants’, and/or third-party proprietary information.

       3.      Plaintiff will file a publicly-available, redacted version of its Opposition Brief

through the electronic filing system to minimize the impact of sealing beyond what is necessary.
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       4.      The deposition transcript of Anne Osborne Martinson has been designated as

“Highest Confidentiality” and the deposition transcript of Kenneth Dow has been designated

“Confidential” under the parties’ protective order in this case.

       5.      Exhibit I to the Declaration of Kenneth Dow is a readout from an internal J&J

database. This document was previously filed under seal in the parties’ prior action, Case No.

1:15-cv-10698-MLW, at Dkt. 522-9.

       6.      All other documents associated with Janssen’s Opposition Brief will be filed

publicly through the Court’s electronic filing system.

       7.      The granting of this motion will not prejudice any party.

       8.      Defendants assent to the relief sought by this motion.

                                              JANSSEN BIOTECH, INC.,

                                              By its attorneys,

                                               /s/ Alison C. Casey
                                              Heather B. Repicky (BBO # 663347)
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Dated: August 2, 2017
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                            LOCAL RULE 7.1 CERTIFICATION

         Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion, and was advised that defendants assent to the
relief requested in this motion.

                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on August 2, 2017 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
